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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

 BRAYDEN JOHNSON, LOGAN RHINES,
 and KAYLA SAVAGE, individually, and on
 behalf of all others similarly situated,         CASE NO. CIV-24-495-PRW
                                                           _______________

       Plaintiffs,                                COMPLAINT – CLASS ACTION

       vs.

 THE UNIVERSITY OF OKLAHOMA;
 JOSEPH HARROZ, JR., President; JEFF
 BLAHNIK, Vice President for Division of
 Enrollment Management & Chief
 Enrollment Officer; COURTNEY
 HENDERSON, Executive Director of
 Financial Aid Services; and DORION
 BILLUPS, Director of Connection and
 Student Engagement,

       Defendants.


                          CLASS ACTION COMPLAINT

      Plaintiffs Brayden Johnson, Logan Rhines, and Kayla Savage bring this action for

declaratory relief and damages on behalf of themselves and a Class of others similarly

situated against the following Defendants: (i) the University of Oklahoma; and the

University’s (ii) President; (iii) Vice President for the Division of Enrollment

Management/Executive Director of the Office of Admissions & Recruitment;

(iv) Executive Director of Financial Aid Services; and (v) Director of Connection and

Student Engagement (collectively the “University of Oklahoma”).




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       Defendants’ practice of awarding financial aid to students on the basis of race

violates Plaintiffs’ and other Class members’ rights under the Equal Protection Clause of

the Fourteenth Amendment and Title VI of the Civil Rights Act of 1964. For the reasons

set forth in this Complaint, Plaintiffs and the proposed Class are entitled to declaratory

relief and damages.

                                    INTRODUCTION

       1.     “Eliminating racial discrimination means eliminating all of it.” Students for

Fair Admissions, Inc. v. President & Fellows of Harvard Coll., 600 U.S. 181, 206 (2023)

(“SFFA”).

       2.     Yet racial preferences continue to exist at the University of Oklahoma.

Rather than determining who to admit based on their race, the University of Oklahoma

determines how much financial aid it gives to students based on their race. That is unlawful.

       3.     Universities that discriminate on the basis of race when making financial-aid

awards violate the same equal protection principles that apply in the admissions context

and elsewhere.

       4.     The Equal Protection Clause of the Fourteenth Amendment prohibits the

government from considering race when providing public benefits—such as financial

aid—except when the government can satisfy strict scrutiny. This is an exceedingly high

standard. The government must show that racial preferences serve a compelling

government interest and are narrowly tailored to that interest. No other showing will

suffice.

       5.     And Title VI requires, at minimum, that recipients of federal funding meet

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this same exacting standard—strict scrutiny—when using racial classifications.

       6.     Defendants’ use of race to allocate financial-aid resources cannot survive

strict scrutiny. Government actors may not “intentionally allocate preference to those ‘who

may have little in common with one another but the color of their skin.’” Id. at 220 (quoting

Shaw v. Reno, 509 U.S. 630, 647 (1993)). And if Defendants had a cognizable interest in

easing the financial burden on certain racial groups attending the University of Oklahoma,

they could serve that interest by more narrowly tailored means, such as awarding need-

based, but race-blind, financial aid.

       7.     Defendants’ race-based financial-aid practices thus violate the Equal

Protection Clause of the Fourteenth Amendment. They also violate Title VI, which

prohibits racial discrimination by all programs receiving federal financial assistance.

       8.     Such violations entitle Plaintiffs and the Class to declaratory relief under the

Declaratory Judgment Act, 28 U.S.C. § 2201, and damages under Title VI, 42 U.S.C.

§ 2000d.

                              JURISDICTION AND VENUE

       9.     This Court has subject-matter jurisdiction under 28 U.S.C. §§ 1331 and 1343.

       10.    Venue is proper under 28 U.S.C. § 1391 because at least one Defendant is a

resident of this District and all Defendants are residents of Oklahoma, and because a

substantial part of the events giving rise to Plaintiffs’ claims occurred in this District.




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                                           PARTIES

       11.     Plaintiff Brayden Johnson is a resident of Oklahoma and an undergraduate

student in an accelerated master’s degree program at the University of Oklahoma.

       12.     Plaintiff Logan Rhines is a resident of Oklahoma and a junior at the

University of Oklahoma.

       13.     Plaintiff Kayla Savage is a resident of Oklahoma and a senior at the

University of Oklahoma.

       14.     Defendant the University of Oklahoma is a public educational institution

based in Norman, Oklahoma. The University of Oklahoma accepts substantial financial

assistance from the federal government. In fiscal year 2023, for example, the University of

Oklahoma was awarded more than $150 million through federal programs. And in fiscal

year 2022, it was awarded more than $70 million. 1 The University of Oklahoma also

receives financial assistance from the federal government by enrolling students who pay

tuition, at least in part, with federal financial aid.

       15.     Defendant Joseph Harroz, Jr. is President of the University of Oklahoma. In

that role, he serves as chief executive officer of the University and is ultimately responsible

for the University’s financial aid program. Defendant Harroz is sued in his official capacity.

       16.     Defendant Jeff Blahnik is Vice President for the Division of Enrollment

Management and Chief Enrollment Officer. In that role, he oversees the University of

Oklahoma’s financial aid department among other responsibilities. Defendant Blahnik is


1
    Recipient       Profile,  University    of     Oklahoma,              USASPENDING.GOV,
    https://bit.ly/3QsKoVX (last accessed May 1, 2024).
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sued in his official capacity.

       17.    Defendant Courtney Henderson is Executive Director of Financial Aid

Services at the University of Oklahoma. In that role, she operates the University’s financial

aid program. Defendant Henderson is sued in her official capacity.

       18.    Defendant Dorion Billups is Director of Connection and Student

Engagement at the University of Oklahoma.              He served as Director of Diversity

Enrichment Programs at the University of Oklahoma until his position was renamed. In his

role, Mr. Billups works within the Office of Admissions & Recruitment to promote racial

diversity, including through race-conscious financial aid decisions. Defendant Billups is

sued in his official capacity.

                                 LEGAL FRAMEWORK

       19.    Equal    protection   prohibits       government   entities—including     public

universities—from distributing benefits or burdens based on race, unless the government

identifies a compelling interest and shows that its policy is narrowly tailored to pursue that

interest. Racial classifications usually fail under this standard, known as “strict scrutiny.”

Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 227 (1995). The Supreme Court has

identified only limited “compelling interests that permit resort to race-based government

action,” namely “remediating specific, identified instances of past discrimination” and

“avoiding imminent and serious risks to human safety in prisons, such as a race riot.” SFFA,

600 U.S. at 207.

       20.    In Grutter v. Bollinger, 539 U.S. 306 (2003), the Supreme Court held that

the Equal Protection Clause also allowed limited consideration of race in higher-education

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admissions. The Court required schools to use an admissions plan “flexible enough to

ensure that each applicant is evaluated as an individual.” Id. at 337. Thus, in a related case,

the Court rejected an admissions program that “automatically” awarded points to minority

applicants. Gratz v. Bollinger, 539 U.S. 244, 271 (2003). The Court further assumed that

schools would continue to pursue race-neutral options and contemplated that “25 years

from now, the use of racial preferences will no longer be necessary to further the interest

approved today.” Grutter, 539 U.S. at 343.

        21.   The Court later returned to the issue of affirmative action in two cases, both

named Fisher v. University of Texas. In Fisher I, the Court reminded lower courts that

“strict scrutiny imposes on the university the ultimate burden of demonstrating, before

turning to racial classifications, that available, workable race-neutral alternatives do not

suffice.” Fisher v. Univ. of Tex. at Austin, 570 U.S. 297, 312 (2013) (“Fisher I”). Because

the trial court had failed to “perform this searching examination,” the Supreme Court

reversed. Id. at 312–13. In Fisher II, a seven-member Court upheld the University of

Texas’s consideration of race in admissions based on the unique facts of that case, but

affirmed that strict scrutiny applies to all government classifications based on race—no

exceptions. See Fisher v. Univ. of Tex. at Austin, 579 U.S. 365, 377–80 (2016) (“Fisher

II”).

        22.   In 2023, the Supreme Court held that the use of race in admissions by

Harvard College and the University of North Carolina (“UNC”) violated equal-protection

principles. In so doing, the Supreme Court eliminated the special dispensation it had

provided for college admissions programs in earlier cases. See SFFA, 600 U.S. at 214–24.

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        23.      The Supreme Court reaffirmed its longstanding teaching that race-conscious

“[u]niversity programs must comply with strict scrutiny.” Id. at 213. And it emphasized

that it had “time and again forcefully rejected the notion that government actors may

intentionally allocate preference to those ‘who may have little in common with one another

but the color of their skin.’” Id. at 220 (quoting Shaw, 509 U.S. at 647).

        24.      The Supreme Court has never held that race-based financial-aid decisions

satisfy strict scrutiny.

        25.      Racial discrimination in financial aid was illegal before the Supreme Court’s

decision in SFFA, and it remains illegal after the Supreme Court’s decision in SFFA. That

is because “[r]acial classifications are simply too pernicious to permit any but the most

exact connection between justification and classification.” Gratz, 539 U.S. at 270 (citation

omitted).

                                FACTUAL ALLEGATIONS

   I.         Racial Considerations in Financial Aid at the University of Oklahoma

        26.      The University of Oklahoma is prohibited from using affirmative action

when making admissions decisions. See OKLA. CONST. art. II, § 2–36A (prohibiting

preferential treatment based on race by state educational institutions).

        27.      Still, the University of Oklahoma places a high value on racial diversity. The

University monitors the racial statistics of admitted students. And one of the University’s




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express goals is to increase the number of black students on campus. 2

       A.        The University of Oklahoma Operates Many Race-Based Programs

       28.       In an effort to increase racial diversity, the University of Oklahoma operates

and has operated a host of race conscious programs. These programs, which give race-

based preferences to black students, begin before matriculation and continue through

graduation. 3

       29.       Prior to student matriculation, certain black admittees are invited to attend

the “McLaurin & Lewis Leadership Conference.” 4 This conference is a “college preview

program for African American students” during which they “are introduced to current

African American student leaders, faculty, staff, and alumni.” 5 Selection for the conference

is race-based.

       30.       If black students opt to attend the University of Oklahoma, the school then

invites them to what it has dubbed “Welcome Black Weekend.” 6 According to university



2
    African American Students, UNIV. OF OKLA., https://bit.ly/43qZ110 (last accessed
    March 21, 2024) (highlighting that the University “seeks to increase African American
    student . . . representation on campus”).
3
    Many of these programs appear, on their face, to be inconsistent with the Oklahoma
    Constitution’s Bill of Rights. See OKLA. CONST. art. II, § 2–36A (prohibiting
    preferential treatment based on race in the operation of public education). The
    University’s basis for operating these programs is unclear.
4
    African American Students, supra, n.2.
5
    McLaurin Lewis Leadership Conference, UNIV. OF OKLA., https://bit.ly/43wgjds (last
    accessed March 21, 2024) (“African American students that have been admitted to OU
    for Fall 2020 are invited to participate and are introduced to current African American
    student leaders, faculty, staff, and alumni. Our goals are not only to have these students
    attend OU but to become actively involved in the African American community at
    OU.”).
6
    African American Students, supra n.2.
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official Angelique Price, “Welcome Black Weekend is a three day orientation for incoming

or transfer Black students.” 7 The racially exclusionary nature of the program is not subtle.

In 2022, an official university account advertised the event by declaring, “We’re back and

blacker than EVER!” 8

        31.   The University of Oklahoma continues to engage in racially discriminatory

activities after students are admitted. For example, the University hosts race-based

programming and activities, sponsored by the University’s Office of African American

Programs & Services. 9

        32.   And even at the end of Oklahoma students’ time at the University, race

continues to play a role: The University hosts an annual “Black Excellence Ceremony,”

which is designed to honor black graduates only. 10

        33.   In an effort to obscure the extent to which it has engaged in race-based

decision making, the University of Oklahoma has recently deleted many webpages with

information about its diversity and race-based programs. It is therefore difficult to

determine the full extent of the University’s race-based programs.




7
     Houston Williams, Welcome Black Weekend Coming Aug. 26-28, OKLA. INST. FOR DIV.
     IN JOURNALISM, https://bit.ly/3IKyJgO (last accessed March 21, 2024).
8
     @welcomeblack_ou, X (formerly known as Twitter) (June 29, 2022, 5:45 pm),
     https://bit.ly/4a35MIS.
9
     See generally Programs, UNIV. OF OKLA., https://bit.ly/4a1n9tz (last accessed March
     21, 2024).
10
     Id.
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        B.     The University of Oklahoma Considers Race When Awarding Financial
               Aid

        34.    Given the extent to which race has infused the University of Oklahoma’s

decision-making processes, it is perhaps unsurprising that the University of Oklahoma also

awards financial aid based on race.

        35.    The University of Oklahoma advertises on its “Financial Aid” webpage that

during the 2022–2023 academic year the average financial aid given to undergraduates was

$15,747, and that nearly 71% of students received aid of some amount.11 Based on the

number of students at the University of Oklahoma, this amounts to more than $230 million

in financial assistance.

        36.    Students are considered for financial aid and scholarships when they apply

to the University of Oklahoma through the Common Application, OU Application, or

Apply Coalition with Scoir. On each of these applications, students may indicate their race.

        37.    A statistical analysis of publicly available data indicates that the University

of Oklahoma considers race when awarding financial aid to its students. Based on the

University of Oklahoma’s published enrollment data and the financial-aid data that it

reported to the Department of Education from 2009 to 2022, statistical analysis shows that

black students receive more institutional grant aid from the University of Oklahoma than

other students, even when controlling to the extent possible for factors such as family

income.

        38.    This statistical analysis provides evidence of the extent of discrimination


11
     Financial Aid, UNIV. OF OKLA, https://bit.ly/3VtFPOn (last accessed March 21, 2024).
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stemming from affirmative action policies in university grants that benefit some favored

group (in this case, black students) and harm other disfavored groups (in this case, non-

black students). The analysis uses data at the university-year level regarding the net price

of tuition at the institution, the proportion of students enrolled from a group that appears to

receive beneficial treatment, and measures of the family income of enrolled students.

        39.      Plaintiffs are aware of no public statement from the University of Oklahoma

disclosing that the school systematically discriminates on the basis of race when allocating

financial aid.

        40.      In the absence of this sophisticated statistical analysis, the University of

Oklahoma’s systematic racial discrimination with respect to financial aid would not have

become known.

        41.      Plaintiffs and the Class could not have learned about the University of

Oklahoma’s systematic racial discrimination at an earlier date through the exercise of

reasonable diligence.

        42.      The University of Oklahoma’s racial discrimination with respect to financial

aid is consistent with recent peer-reviewed econometric research showing that American

colleges and universities have, in the recent past, provided racial discounts when awarding

financial aid. 12




12
     Ian Fillmore, Price Discrimination and Public Policy in the US College Market, 90 (3)
     THE REV. OF ECON. STUD., 1228, 1240 & tbl. 2 (2023) (finding a statistically significant
     relationship between black students and tuition discounts using a robust 2007–2008
     data set).
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   II.         Effect of the University of Oklahoma’s Racial Discrimination on Plaintiffs

         43.      Because of Defendants’ race-based financial aid decision making, Plaintiffs

received less financial aid from the University of Oklahoma than they would have if the

University of Oklahoma did not discriminate on the basis of race when awarding financial

aid.

         A.       Plaintiff Brayden Johnson

         44.      Plaintiff Brayden Johnson is an undergraduate student in an accelerated

master’s degree program at the University of Oklahoma. Because Plaintiff Johnson does

not have the financial means to pay for college, he applied for scholarships from the

University of Oklahoma.

         45.      Plaintiff Johnson self-identified as white and non-Hispanic when applying

for financial aid from the University of Oklahoma.

         46.      Plaintiff Johnson received a merit scholarship in the amount of $4,000 per

semester and two smaller scholarships totaling $1,000 and $1,750 per year, respectively.

Plaintiff Johnson did not receive any other scholarships or financial aid from the University

of Oklahoma.

         47.      Plaintiff Johnson would have received additional financial aid from the

University of Oklahoma if the Defendants did not engage in racial discrimination when

awarding financial aid.

         48.      To support himself while at the University of Oklahoma, Plaintiff Johnson

works at Home Depot three days a week. He previously worked as a cashier at a bagel shop

for the same reason.

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       B.     Plaintiff Logan Rhines

       49.    Plaintiff Logan Rhines is a junior at the University of Oklahoma. He is a

first-generation college student. Because Plaintiff Rhines does not have the financial means

to pay for college, he applied for scholarships from the University of Oklahoma.

       50.    Plaintiff Rhines identified himself as white and non-Hispanic when applying

for financial aid from the University of Oklahoma.

       51.    Plaintiff Rhines received a merit scholarship based on his ACT score and

GPA in the amount of $1,000 per semester. Plaintiff Rhines did not receive any other

scholarships or financial aid from the University of Oklahoma.

       52.    Plaintiff Rhines would have received additional financial aid from the

University of Oklahoma if the Defendants did not engage in racial discrimination when

awarding financial aid.

       C.     Plaintiff Kayla Savage

       53.    Plaintiff Kayla Savage is a senior at the University of Oklahoma. Plaintiff

Savage transferred to the University of Oklahoma after attending community college.

       54.    An official from the University of Oklahoma’s Office of Admissions told

Plaintiff Savage that financial aid was generally not available to students like her, but

would have been if she were African American.

       55.    Because Plaintiff Savage did not have the financial means to pay for college,

she nonetheless applied for scholarships from the University of Oklahoma.

       56.    Plaintiff Savage self-identified as white and non-Hispanic when applying for

financial aid from the University of Oklahoma.

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       57.    Plaintiff Savage received no financial aid from the University of Oklahoma.

       58.    Plaintiff Savage would have received additional financial aid from the

University of Oklahoma if the Defendants did not engage in racial discrimination when

awarding financial aid.

                                 CLASS ALLEGATIONS

       59.    Plaintiffs bring this action on behalf of themselves and other current, former,

and incoming University of Oklahoma students similarly entitled to damages and

declaratory relief.

       60.    The Class consists of all current, future, and former undergraduate students

of the University of Oklahoma who were enrolled at any time from the date that the

University of Oklahoma began systematically discriminating in favor of black students

when awarding financial aid to the date of class certification, who did not receive financial

aid covering all costs of attendance, who were U.S. citizens or permanent residents, who

applied for financial aid, and who are not identified in the school’s financial aid or

admissions database as Black or African American. These Class members are seeking

damages from Defendant the University of Oklahoma under Title VI, and a declaratory

judgment declaring that their rights were violated under both Title VI and the Equal

Protection Clause of the Fourteenth Amendment.

       61.    The Class shall exclude any judicial officers presiding over this action, as

well as members of their immediate families and members of their judicial staffs. The Class

shall also exclude any attorney appearing in this action and any juror assigned to this action,

as well as members of their immediate families.

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       62.      The proposed Class is so numerous that joinder of all members is

impracticable. See FED. R. CIV. P. 23(a)(1). The exact number of Class members is

unknown at this time and can be ascertained only through appropriate discovery. But given

the number of students who attend and apply for financial aid from the University of

Oklahoma every year, there are at least thousands of members of the proposed Class.

       63.      Common questions of law and fact exist with respect to the Class. See FED.

R. CIV. P. 23(a)(2). Those questions include:

             a. Whether Defendants denied financial aid to the Class members on the basis

                of their race (both Counts);

             b. Whether Defendants’ challenged conduct violates the Equal Protection

                Clause (Count I); and

             c. Whether Defendants’ challenged conduct violates Title VI (Count II).

       64.      Plaintiffs’ claims are typical of those of the other Class members. See FED.

R. CIV. P. 23(a)(3). All members of the Class currently attend, have attended, or will attend

the University of Oklahoma and are being denied, were denied, or will be denied financial

aid on the basis of race. They were thus similarly affected by the wrongful conduct

complained of herein.

       65.      Plaintiffs will fairly and adequately protect the interests of all Class

members. See FED. R. CIV. P. 23(a)(4). Plaintiffs’ counsel is competent and experienced in

class and civil rights litigation, and Plaintiffs have no interests adverse or antagonistic to

the Class.



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       66.    The Class is certifiable under Federal Rule of Civil Procedure 23(b)(3). The

common questions of law and fact listed above predominate over any questions affecting

only individual members of the Class. All Class members are entitled to similarly race-

blind consideration for financial aid. A class action is also superior to other available

methods for the fair and efficient adjudication of this controversy. The membership of the

class can be readily ascertained from records in the possession of Defendants. Prosecution

as a class action will eliminate the possibility of repetitious litigation. Treatment of this

case as a class action will permit a large number of similarly situated persons to adjudicate

their common claims in a single forum simultaneously, efficiently, and without the

duplication of effort and expense that numerous individual actions would engender. Class

treatment will also permit the adjudication of claims by many class members who

otherwise could not bear the expense and burden of seeking redress on an individual basis

for the conduct alleged herein.

                                   CLAIMS FOR RELIEF

                                        COUNT I
                        Violation of the Equal Protection Clause
                                   (42 U.S.C. § 1983)

       67.    Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

       68.    The Equal Protection Clause of the Fourteenth Amendment provides: “No

State shall . . . deny to any person within its jurisdiction the equal protection of the laws.”

U.S. CONST. amend. XIV, § 1.

       69.    The Equal Protection Clause applies to state educational institutions. See,

e.g., Fisher I, 570 U.S. at 307.

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       70.    Racial discrimination is “invidious in all contexts.” Edmonson v. Leesville

Concrete Co., 500 U.S. 614, 619 (1991). So government actors, such as state universities,

may not provide a benefit on the basis of race without satisfying strict scrutiny.

       71.    The Court must first determine whether the racial classification “further[s]

compelling governmental interests.” Grutter, 539 U.S. at 326. “Classifying and assigning”

students based on their race “requires more than . . . an amorphous end to justify it.” Parents

Involved in Cmty. Schs. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 735 (2007). A

“generalized assertion” of “past discrimination” is insufficient, because it “provides no

guidance for a legislative body to determine the precise scope of the injury it seeks to

remedy.” City of Richmond v. J.A. Croson Co., 488 U.S. 469, 498 (1989).

       72.    If a racial classification somehow serves a compelling interest, the Court

must then determine whether it is “narrowly tailored”—meaning “necessary”—to that

interest. Fisher I, 570 U.S. at 311–12. In this context, Defendants must not only show “how

assigning students to these racial categories and making [financial-aid] decisions based on

them furthers the educational benefits that the universities claim to pursue,” but also that

the classification has a “logical end point.” SFFA, 600 U.S. at 216, 221 (internal quotation

marks omitted).

       73.    The University of Oklahoma’s race-based financial-aid practices fail strict

scrutiny under the Equal Protection Clause. These practices share all the failings of the

race-based admissions practices deemed unlawful in SFFA: they rely on imprecise and

irrational categories; they assume that members of each racial group are uniform in their

need for financial aid and that such aid will have the same effect on each member of the

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group; and they rest on the demeaning stereotype that black students need financial aid

more than non-black students. For all these reasons, Defendants cannot assert a compelling

interest in considering “race for race’s sake.” Id. at 220.

       74.    Moreover, less-restrictive means for easing financial burdens on black

students are readily available. Simply providing adequate need-based financial aid to all

students, regardless of race, would ensure that black students who have been admitted to

the University of Oklahoma are not dissuaded from attending by the cost of doing so. There

is no legitimate basis for privileging the financial needs of students of one race over the

financial needs of students of other races.

       75.    Defendants’ wrongful use of race in financial-aid determinations deprives

Plaintiffs and other Class members of their equal-protection rights. Plaintiffs and other

Class members are thus entitled to a declaratory judgment.

       76.    Plaintiffs are also entitled to attorneys’ fees and costs under 42 U.S.C.

§ 1988.

                                        COUNT II
                                    Violation of Title VI
                                    (42 U.S.C. § 2000d)

       77.    Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

       78.    Title VI of the Civil Rights Act of 1964 prohibits discrimination on the basis

of race by programs and activities receiving federal funds. Specifically, Section 601

provides: “No person in the United States shall, on the ground of race, color, or national

origin, be excluded from participation in, be denied the benefits of, or be subjected to



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discrimination under any program or activity receiving Federal financial assistance.” 42

U.S.C. § 2000d.

        79.   This provision is privately enforceable. See, e.g., Alexander v. Sandoval, 532

U.S. 275, 279–80 (2001).

        80.   A recipient of federal funds violates Title VI when it intentionally

discriminates on the basis of race. See, e.g., Yu v. Idaho State Univ., 15 F.4th 1236, 1242

(9th Cir. 2021); Khan v. Midwestern Univ., 147 F. Supp. 3d 718, 720 (N.D. Ill. 2015). Here,

available evidence indicates that race plays a role in the University of Oklahoma’s

financial-aid awards.

        81.   Intentional discrimination can also take the form of facially neutral policies,

specifically where “the relevant decisionmaker . . . adopted the policy at issue ‘because of,’

not merely ‘in spite of,’ its adverse effects upon an identifiable group.’” Pryor v. Nat’l

Collegiate Athletic Ass’n, 288 F.3d 548, 562 (3rd Cir. 2002) (quoting Pers. Adm’r of Mass.

v. Feeney, 442 U.S. 256, 279 (1979)). To the extent Defendants apply facially neutral

policies that adversely affect non-black applicants, those policies are subject to Title VI as

well.

        82.   Intentional racial discrimination alone violates Title VI. See SFFA, 600 U.S.

at 309 (Gorsuch, J., concurring). But even if the Court were to apply an interest-balancing

framework—i.e., strict scrutiny—Defendants would bear the burden of showing that their

discriminatory financial-aid practices survive strict scrutiny. See, e.g., Shaw, 509 U.S. at

643.



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       83.    “[D]iscrimination that violates the Equal Protection Clause of the Fourteenth

Amendment committed by an institution that accepts federal funds also constitutes a

violation of Title VI.” SFFA, 600 U.S. at 198 n.2 (internal quotation marks omitted). So

for the same reasons that the challenged conduct violates the Equal Protection Clause, it

also violates Title VI.

       84.    Plaintiffs and the other Class members have suffered damages as a direct and

proximate result of Defendant the University of Oklahoma’s violations of Title VI.

Plaintiffs are therefore entitled to compensatory damages, to be measured at trial, for any

and all financial aid that they have been wrongfully deprived of because of their race.

       85.    Defendants’ wrongful conduct also deprives Plaintiffs and other Class

members of their right to equal treatment, which is protected by Title VI. Plaintiffs and

other Class members are entitled to a declaratory judgment to prevent Defendants from

continuing any such deprivation.

       86.    Plaintiffs are further entitled to attorneys’ fees and costs under 42 U.S.C.

§ 1988.

                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for relief and judgment as follows:

       a.     Certify that this action is a proper class action under Federal Rule of Civil

Procedure 23(a) and (b) on behalf of the Class defined herein;

       b.     Declare that Defendants’ racially discriminatory financial-aid practices

violate the Equal Protection Clause and Title VI;



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       c.      Award Plaintiffs and the Class members compensatory damages for

Defendant the University of Oklahoma’s violation of Title VI, in an amount to be proven

at trial, including interest thereon;

       d.      Award Plaintiffs attorneys’ fees and costs under 42 U.S.C. § 1988; and

       e.      Order such further relief as the Court may deem just and proper.




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    Respectfully submitted,                   Dated: May 15, 2024


    s/ Ryan Haynie
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*
      Pro hac vice application forthcoming.
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